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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

NATIONAL RIFLE ASSOCIATION OF        §
AMERICA,                             §
                                     §
    Plaintiff and Counter-Defendant, §
                                     §
and                                  §
                                     §
WAYNE LAPIERRE,                      §
                                     §
    Third-Party Defendant,           §
                                     §
v.                                   §                   Case No. 3:19-cv-02074-G
                                     §
ACKERMAN MCQUEEN, INC.,              §
                                     §
    Defendant and Counter-Plaintiff, §
                                     §
and                                  §
                                     §
MERCURY GROUP, INC., HENRY           §
MARTIN, WILLIAM WINKLER,             §
MELANIE MONTGOMERY, AND JESSE §
GREENBERG,                           §
                                     §
    Defendants.


     PLAINTIFF THE NATIONAL RIFLE ASSOCIATION AND THIRD-PARTY
 DEFENDANT WAYNE LAPIERRE’S RULE 26 INITIAL DISCLOSURE STATEMENT

       Pursuant to Rule 26(a) of the Federal Rules of Civil Procedure, Plaintiff the National

Rifle Association and Third-Party Defendant Wayne LaPierre (collectively, the “NRA” or

“Plaintiff”) make their initial disclosures relating to their causes of action against

Defendants/Counter-Plaintiffs Ackerman McQueen, Inc., Mercury Group, Inc., Henry Martin,

William Winkler, Melanie Montgomery, and Jesse Greenberg (collectively, “Defendants” or

“AMc”), as stated below.



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         The NRA makes these initial disclosures subject to, and without waiving, their right to

  protect from disclosure any and all documents and communications protected by the attorney-

  client privilege, attorney-work product doctrine, and any other applicable privilege or exemption

  from discovery.

         In addition, the NRA makes these initial disclosures without waiving any argument they

  may have concerning the relevancy or admissibility of, or proper weight to be accorded to, any

  of the materials or information disclosed or referenced herein. The NRA reserves the right to

  amend or supplement this Initial Disclosure based upon further investigation, further

  development of applicable facts, or receipt and review of Defendants’ responses or other

  information.

                                                    I.

                       DISCLOSURE PURSUANT TO RULE 26(a)(1)(A)(i)

         The following individuals are likely to have discoverable information that Plaintiff may

  use to support Plaintiff’s claims and defenses in this action, as follows:


                            Organization
No.         Name             and Title           Contact Information                 Subject Matter
1.     Corporate          NRATV Sponsor 1360 Reynolds Ave,                     NRATV viewership analytics,
       Representative,                  Suite 101                              and AMc’s budget for
       5.11 Tactical                    Irvine, CA 92614                       NRATV.
2.     Corporate          NRATV Sponsor 7104 Biter Lane,                       NRATV viewership analytics,
       Representative,                  Highland, MD 20777                     and AMc’s budget for
       Adcor Defense                                                           NRATV.
3.     Alexander          Former AMc           1409    Bankston       Dr. NRATV viewership analytics,
       Varney             Producer             Wylie, TX 75098            the presentations regarding
                                                                          NRATV analytics that were
                                                                          presented to the NRA, and
                                                                          AMc’s budget for NRATV.
4.     Andrew             NRA Managing         1717 Main Street                NRA’s requests for AMc books
       Arulanandam        Director of                                          and records, and AMc’s
                                               Dallas, TX 75201

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                        Public Affairs   (214) 653-4000              unauthorized use of the NRA’s
                                                                     intellectual property.
5.    Andrew Butler     Former AMc       Address Unknown             NRATV viewership analytics,
                        Employee                                     the presentations regarding
                                                                     NRATV analytics that were
                                                                     presented to the NRA, and
                                                                     AMc’s budget for NRATV.
6.    Anthony Makris President of        Brian Mason                 NRATV viewership analytics,
                     Mercury Group       300 Crescent Ct. Ste. 400   the presentations regarding
                                         Dallas, TX 75201            NRATV analytics that were
                                         (214) 981-9929              presented to the NRA, and
                                                                     AMc’s budget for NRATV.
7.    Bill Winkler      AMc CFO          Brian Mason                 NRATV viewership analytics,
                                         300 Crescent Ct. Ste. 400   the presentations regarding
                                         Dallas, TX 75201            NRATV analytics that were
                                         (214) 981-9929              presented to the NRA, and
                                                                     AMc’s budget for NRATV.
8.    Brandon           AMc Chief        Brian Mason                 NRATV viewership analytics,
      Winkler           Administrative   300 Crescent Ct. Ste. 400   the presentations regarding
                        Officer          Dallas, TX 75201            NRATV analytics that were
                                         (214) 981-9929              presented to the NRA, and
                                                                     AMc’s budget for NRATV.
9.    Brian Darley      AMc Vice         Brian Mason                 NRATV viewership analytics,
                        President,       300 Crescent Ct. Ste. 400   the presentations regarding
                        Digital Media    Dallas, TX 75201            NRATV analytics that were
                                         (214) 981-9929              presented to the NRA, and
                                                                     AMc’s budget for NRATV.
10.   Corporate         NRATV Sponsor 69160 1 Cabelas Dr.            NRATV viewership analytics,
      Representative,                 Sidney, NE 69162               and AMc’s budget for
      Cabela’s                                                       NRATV.
      Outdoor Fund
11.   Cam Edwards       NRATV host       18125 E James Anderson      NRATV viewership analytics,
                                         Hwy                         the presentations regarding
                                         Dillwyn, VA 23936           NRATV analytics that were
                                                                     presented to the NRA, and
                                                                     AMc’s budget for NRATV.
12.   Carl Warner       Former AMc        5519 Anita St.             NRATV viewership analytics,
                        Exec. VP /        Dallas, TX 75206           the presentations regarding
                        Creative Director                            NRATV analytics that were
                                                                     presented to the NRA, and
                                                                     AMc’s budget for NRATV.
13.   Carly Jimeson     Former AMc       Address Unknown             NRATV viewership analytics,

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                        Account                                         the presentations regarding
                        Executive                                       NRATV analytics that were
                                                                        presented to the NRA, and
                                                                        AMc’s budget for NRATV.
14.   Carolyn           NRA Director       1717 Main Street             Extortion attempt against
      Meadows           and President      Dallas, TX 75201             Wayne LaPierre.
                                           (214) 653-4000
15.   Charles           Former AMc         3225 Gidran Drive            NRATV viewership analytics,
      Berthelot         Senior Director    Fort Worth, TX 76244         the presentations regarding
                                                                        NRATV analytics that were
                                                                        presented to the NRA, and
                                                                        AMc’s budget for NRATV.
16.   Charles Cotton    NRA Director       1717 Main Street             NRA’s concerns regarding
                                           Dallas, TX 75201             AMc spending of NRA funds.
                                           (214) 653-4000
17.   Chester           Former AMc         2313 Owens Blvd.             NRATV viewership analytics,
      Campbell          Vice President /   Richardson, Texas 75082      the presentations regarding
                        Digital                                         NRATV analytics that were
                        Development                                     presented to the NRA, and
                                                                        AMc’s budget for NRATV.
18.   Clay Turner       Former AMc        505 Red Cliff R.              NRATV viewership analytics,
                        Executive Vice    Colorado Springs, CO          the presentations regarding
                        President /       80906                         NRATV analytics that were
                        Creative Director                               presented to the NRA, and
                                                                        AMc’s budget for NRATV.
19.   Collins Idehen    Former NRATV       Address Unknown              NRATV viewership analytics,
                        host                                            the presentations regarding
                                                                        NRATV analytics that were
                                                                        presented to the NRA, and
                                                                        AMc’s budget for NRATV.
20.   Corporate         NRATV Sponsor 545 New Park Ave.,      NRATV viewership analytics,
      Representative,                 West Hartford, CT 06110 and AMc’s budget for
      Colt                                                    NRATV.
      Manufacturing
      Company LLC
21.   Corporate         Former AMc         211 7th Street, Suite 620,   AMc’s business practices,
      Representative,   Client             Austin TX 78701              billing, and reputation in the
      Compass RE                                                        industry.
      Texas
22.   Corporate       Former AMc           1875 Connecticut             AMc’s reputation including but
      Representative, Client               Avenue, Suite 705            not limited to its billing
      American Clean                       Washington DC, 20009         practices, its business practices,

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      Skies                                                            and its client retention.
      Foundation
23.   Corporate          Former AMc      6100 North Western Ave. AMc’s reputation including but
      Representative,    Client          Oklahoma City, OK       not limited to its billing
      Chesapeake                         73118                   practices, its business practices,
      Energy                                                     and its client retention.
      Corporation
24.   Corporate          NRATV Sponsor 7629 Routes 5 & 20              NRATV viewership analytics,
      Representative,                  Bloomfield, NY 14469            and AMc’s budget for
      Crossman                                                         NRATV.
      Corporation
25.   Corporate          Former AMc      123 Park Avenue               AMc’s reputation including but
      Representative,    Client          Oklahoma City, OK             not limited to its billing
      Greater                            73102                         practices, its business practices,
      Oklahoma City                                                    and its client retention.
      Chamber of
      Commerce
26.   Corporate          NRATV Sponsor 3625 West Old Potash            NRATV viewership analytics,
      Representative,                  Hwy                             and AMc’s budget for
      Hornady                          Grand Island, NE 68803          NRATV.
      Manufacturing
      Company
27.   Corporate          Former AMc      3300 NW Expressway            AMc’s reputation including but
      Representative,    Client          Oklahoma City, OK             not limited to its billing
      Integris Health,                   73122                         practices, its business practices,
      Inc.                                                             and its client retention.
28.   Corporate          NRATV Sponsor 1120 Saw Mill River Rd.         NRATV viewership analytics,
      Representative,                  Yonkers, NY 10710               and AMc’s budget for
      Kimber Mfg.                                                      NRATV.
      Inc.
29.   Corporate          Former AMc      6401 Hollis Street, Ste.      AMc’s reputation including but
      Representative,    Client          100                           not limited to its billing
      LeapFrog                           Emeryville, CA 94608          practices, its business practices,
      Enterprises                                                      and its client retention.
30.   Corporate          NRATV Sponsor 7 Grasso Avenue                 NRATV viewership analytics,
      Representative,                  North Haven, CT 06473           and AMc’s budget for
      Mossberg                                                         NRATV.
      Corporation
31.   Corporate          Former AMc      900 N Stiles Ave #3234        AMc’s reputation including but
      Representative,    Client          Oklahoma City, OK             not limited to its billing
      Oklahoma                           73104                         practices, its business practices,
      Department of                                                    and its client retention.

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      Tourism and
      Recreation
32.   Corporate         Former AMc     321 North Harvey           AMc’s reputation including but
      Representative,   Client         P.O Box 321                not limited to its billing
      Oklahoma Gas                     Oklahoma City, OK          practices, its business practices,
      & Electric                       73101                      and its client retention.
33.   Corporate         Former AMc     400 S. Monroe Street       AMc’s reputation including but
      Representative,   Client         Stillwater, OK 74074       not limited to its billing
      Oklahoma State                                              practices, its business practices,
      University                                                  and its client retention.
      Foundation
34.   Corporate         NRATV Sponsor 870 Remington Drive         NRATV viewership analytics,
      Representative,                 P.O. box 700                and AMc’s budget for
      Remington                       Madison, NC 27025           NRATV.
      Firearms
35.   Corporate         Former AMc     1516 S. Boston, Ste. 301   AMc’s reputation including but
      Representative,   Client         Tulsa, OK 74119            not limited to its billing
      Senior Star                                                 practices, its business practices,
                                                                  and its client retention.

36.   Corporate         Former AMc     13710 Central Ave          AMc’s reputation including but
      Representative,   Client         Bowie, MD 20721            not limited to its billing
      Six Flags of                                                practices, its business practices,
      America                                                     and its client retention.
37.   Corporate         NRATV Sponsor 1 Vista Way                 NRATV viewership analytics,
      Representative,                 Anoka, MN 55303             and AMc’s budget for
      Vista Outdoor                                               NRATV.
      Inc.
38.   Corporate         Former AMc     1 One Williams Center      AMc’s reputation including but
      Representative,   Client         Tulsa, OK 74103            not limited to its billing
      Williams                                                    practices, its business practices,
      Companies Inc.                                              and its client retention.
39.   Corporate         AMc time-      721 Auth Ave.              AMc’s time-keeping practices
      Representative,   tracking       Oakhurst, NJ 07755         and information for services
      Workamajig,       application                               rendered, and identities of
      Inc.                                                        employees working on
                                                                  projects.
40.   Corporate         Former AMc     3500 One Williams          AMc’s reputation including but
      Representative,   Client         Center                     not limited to its billing
      WPX Energy                       Tulsa, OK 74172            practices, its business practices,
      Inc.                                                        and its client retention.
41.   Craig Spray       NRA CFO and    1717 Main Street           NRA’s requests for AMc books

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                        Treasurer         Dallas, TX 75201           and records; NRA’s concerns
                                          (214) 653-4000             regarding spending of NRA
                                                                     funds.
42.   Corporate         Cigar Bar         113 King St,               AMc’s business practices,
      Representative,   founded by AMc    Alexandria, VA 22314       billing, and reputation in the
      CXIII Rex         executives                                   industry.
43.   Dan Boren         Former NRA        3600 NW 174th St.,         AMc’s accounting for time and
                        Director          Edmond, OK 73012           services of personnel.
                                          (580) 320-0435


44.   Dana Loesch       NRATV host        150 Lilac Ln, Southlake,   NRATV viewership analytics,
                                          TX 76092-7408              the presentations regarding
                                                                     NRATV analytics that were
                                                                     presented to the NRA, and
                                                                     AMc’s budget for NRATV.
45.   David Valinski    Former Special    200 Bella Harbor Ct.,      NRATV viewership analytics,
                        Assistant to Lt   Unit 107                   and AMc’s budget for
                        Col. Oliver       Palm Coast, FL 32137       NRATV.
                        North
46.   Denise Sinisi     Former AMc        309 Timberline Drive N.    NRATV viewership analytics,
                        Executive         Colleyville, TX 76034      the presentations regarding
                        Producer                                     NRATV analytics that were
                                                                     presented to the NRA, and
                                                                     AMc’s budget for NRATV.
47.   Dennis Azato      Former AMc VP     10905 Ravenwood Dr.        NRATV viewership analytics,
                        / Director of     Manassas, VA 20111         the presentations regarding
                        Photography /                                NRATV analytics that were
                        Producer                                     presented to the NRA, and
                                                                     AMc’s budget for NRATV.
48.   Duane Reno        NRA Travel        1717 Main Street           NRA’s requests for AMc books
                        Specialist and    Dallas, TX 75201           and records; NRA’s concerns
                        Office            (214) 653-4000             regarding spending of NRA
                        Coordinator,                                 funds
                        Office of the
                        Treasurer
49.   Edmund Martin     Former            1916 Worthington LN,       NRATV viewership analytics,
                        Chairman of       Edmond, OK 73013           the presentations regarding
                        AMc Board                                    NRATV analytics that were
                                                                     presented to the NRA, and
                                                                     AMc’s budget for NRATV;
                                                                     AMc’s business practices,
                                                                     billing; the NRA’s conspiracy

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                                                                     claims; AMc’s breaches of
                                                                     confidentiality.
50.   Edward Camron Former AMc            18125 E James Anderson     NRATV viewership analytics,
      Selfridge     host of Cam &         Hwy Dillwyn, VA 23936      the presentations regarding
                    Co.                                              NRATV analytics that were
                                                                     presented to the NRA, and
                                                                     AMc’s budget for NRATV.
51.   Emily Cummins Former NRA            12104 Garden Grove         NRA’s concerns regarding
                    Risk Manager          Circle, Unit 403           AMc spending of NRA funds.
                                          Fairfax, VA


52.   Eric Van Horn    Former AMc         Address Unknown            NRATV viewership analytics,
                       Account                                       the presentations regarding
                       Executive                                     NRATV analytics that were
                                                                     presented to the NRA, and
                                                                     AMc’s budget for NRATV.
53.   Gayle Stanford   I&IS Travel        6100 Kentland Ave,         NRA’s payment of AMc’s
                                          Woodland Hills, CA         pass-through expenses.
                       Principal
                                          91367
54.   George Szucs     Former AMc         1460 Meandro Ria Ln.       NRATV viewership analytics,
                       Executive          McKinney, TX 75069         the presentations regarding
                       Producer                                      NRATV analytics that were
                                                                     presented to the NRA, and
                                                                     AMc’s budget for NRATV.
55.   Gina Betts       Registered agent   3413 Cornell Ave,          AMc’s business practices,
                       of WBB             Dallas, TX 75205           billing, and reputation in the
                       Investments,                                  industry.
                       LLC
56.   Ginny Simone     NRATV host         8614 Cavano St             NRATV viewership analytics,
                                          Naples, FL 34119           and AMc’s budget for
                                                                     NRATV.
57.   Corporate       AMc’s landlord      1999 Bryan Street, Suite   AMc’s business practices,
      Representative, for Dallas office   900,                       billing, and reputation in the
      GPI-M Uptown,                       Dallas TX 75201-3136       industry.
      LP
58.   Grant Spofford   AMc Executive      2712 Pinehurst Drive       NRATV viewership analytics,
                       Vice President,    Grapevine, TX 76051        the presentations regarding
                       Interactive                                   NRATV analytics that were
                       Producer                                      presented to the NRA, and
                                                                     AMc’s budget for NRATV.
59.   Grant            NRATV host         6217 Goliad Avenue         NRATV viewership analytics,

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      Stinchfield                          Dallas, TX 75214            the presentations regarding
                                                                       NRATV analytics that were
                                                                       presented to the NRA, and
                                                                       AMc’s budget for NRATV.
60.   Guy Mitchell      Former AMc         4128 Starlight Creek Ln.    NRATV viewership analytics,
                        Executive          Celina, TX 75009            the presentations regarding
                        Producer                                       NRATV analytics that were
                                                                       presented to the NRA, and
                                                                       AMc’s budget for NRATV.
61.   Corporate         AMc’s outside      9905 North May Ave.,        AMc’s business practices,
      Representative,   Auditor            Oklahoma City, OK,          billing, and reputation in the
      HBC Auditors                         73120                       industry.
      & Advisors
62.   Henry Martin      AMc Chief          Brian Mason                 NRATV viewership analytics,
                        Creative Officer   300 Crescent Ct. Ste. 400   the presentations regarding
                                           Dallas, TX 75201            NRATV analytics that were
                                           (214) 981-9929              presented to the NRA, and
                                                                       AMc’s budget for NRATV.
63.   Corporate         NRATV Sponsor State Spur 430, P.O. Box         NRATV viewership analytics,
      Representative,                 1848,                            and AMc’s budget for
      Hornady                         Grand Island, NE 68802           NRATV.
      Manufacturing
64.   Jace Whatcott     Former AMc         3427 Cedar Springs, Apt.    NRATV viewership analytics,
                        Media Strategist   1405                        the presentations regarding
                                           Dallas, TX 75219            NRATV analytics that were
                                                                       presented to the NRA, and
                                                                       AMc’s budget for NRATV.
65.   Jesse Greenberg AMc Chief            3902 Fairfax Avenue,        NRATV viewership analytics,
                      Strategy Officer     Dallas, TX 75209            the presentations regarding
                                                                       NRATV analytics that were
                                                                       presented to the NRA, and
                                                                       AMc’s budget for NRATV.
66.   John Frazer       NRA General        1717 Main Street            NRA’s requests for AMc books
                        Counsel                                        and records, concerns
                                           Dallas, TX 75201
                                                                       regarding spending of NRA
                                           (214) 653-4000
                                                                       funds and AMC’s unauthorized
                                                                       use of NRA intellectual
                                                                       property.
67.   John Popp         Former AMc         7414 Spring Summit Rd.      NRATV viewership analytics,
                        Executive          Springfield, VA 22150       the presentations regarding
                        Producer at                                    NRATV analytics that were
                        Mercury Group                                  presented to the NRA, and


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                                                                        AMc’s budget for NRATV.
68.   Jon Carter        Former AMc          Address Unknown             NRATV viewership analytics,
                        Senior Associate                                the presentations regarding
                        / Political                                     NRATV analytics that were
                        Strategy                                        presented to the NRA, and
                                                                        AMc’s budget for NRATV.
69.   Josh Himes        AMc, Time-      Brian Mason                     NRATV viewership analytics,
                        lapse           300 Crescent Ct. Ste. 400       the presentations regarding
                        Cinematographer Dallas, TX 75201                NRATV analytics that were
                                        (214) 981-9929                  presented to the NRA, and
                                                                        AMc’s budget for NRATV.
70.   Joshua Powell     Former NRA          11552 Marquette Drive       NRA’s requests for AMc books
                        Chief of Staff      New Buffalo, MI 49117       and records.


71.   Katie McQueen     AMC, Executive      Brian Mason                 NRATV viewership analytics,
                        Vice President      300 Crescent Ct. Ste. 400   the presentations regarding
                        Management          Dallas, TX 75201            NRATV analytics that were
                        Supervisor          (214) 981-9929              presented to the NRA, and
                                                                        AMc’s budget for NRATV.
72.   Kristy Titus      NRATV host          1450 NW Gardner Road        NRATV viewership analytics,
                                            Prineville, OR 97754        the presentations regarding
                                                                        NRATV analytics that were
                                                                        presented to the NRA, and
                                                                        AMc’s budget for NRATV.
73.   Lacey Duffy       AMc, Executive      Brian Mason                 NRATV viewership analytics,
      Cremer            Vice President of   300 Crescent Ct. Ste. 400   the presentations regarding
                        Account             Dallas, TX 75201            NRATV analytics that were
                        Management          (214) 981-9929              presented to the NRA, and
                                                                        AMc’s budget for NRATV.
74.   Lance Olson       Former NRA          785 William Avenue          AMc’s business practices,
                        Board Member        Marengo, IA 52301           billing, and reputation in the
                                                                        industry, and the NRA’s
                                                                        conspiracy claims.
75.   Corporate         Restaurant          115 King St,                AMc’s business practices,
      Representative,   frequently billed                               billing, and reputation in the
                                            Alexandria, VA 22314
      Landini           to NRA                                          industry.
      Brothers
      Restaurant
76.   Lisa              NRA Managing        1717 Main Street            NRA’s concerning AMc’s
      Supernaugh        Director,           Dallas, TX 75201            spending of NRA funds.
                        Executive           (214) 653-4000


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                        Operations
77.   Mark Chestnut     Former AMc Sr.     714 W 115th St.             NRATV viewership analytics,
                        VP / Editorial     SW Jenks, OK 74037          the presentations regarding
                        Services                                       NRATV analytics that were
                                                                       presented to the NRA, and
                                                                       AMc’s budget for NRATV.
78.   Melanie           AMc Executive      Brian Mason                 NRATV viewership analytics,
      Montgomery        Vice President /   300 Crescent Ct. Ste. 400   the presentations regarding
                        Management         Dallas, TX 75201            NRATV analytics that were
                        Supervisor         (214) 981-9929              presented to the NRA, and
                                                                       AMc’s budget for NRATV.
79.   Michael Aitken    Former AMc         6030 River Forest Drive     NRATV viewership analytics,
                        VP/Video           Manassas, VA 20112          the presentations regarding
                        Production                                     NRATV analytics that were
                                                                       presented to the NRA, and
                                                                       AMc’s budget for NRATV.
80.   Michael           NRA Director of    1717 Main Street            NRA’s concerns regarding
      Erstling          Budget and         Dallas, TX 75201            spending of NRA funds and
                        Financial          (214) 653-4000              AMC’s unauthorized use of
                        Analysis                                       NRA intellectual property.
81.   Michael Ives      Former AMc         4503 Charleswood Ave.       NRATV viewership analytics,
                        SVP / Corporate    Memphis, TN 38117           the presentations regarding
                        Director of                                    NRATV analytics that were
                        Photography                                    presented to the NRA, and
                                                                       AMc’s budget for NRATV.
82.   Millie Hallow     NRA Executive      1717 Main Street            NRA’s requests for AMc books
                        Assistant          Dallas, TX 75201            and records and Oliver North’s
                                           (214) 653-4000              attempt to extort Wayne
                                                                       LaPierre.
83.   Corporate         NRATV Sponsor 301 N Main Street 1600,          NRATV viewership analytics,
      Representative,                 Epic Center,                     and AMc’s budget for
      Mojack                          Wichita, KS 67202                NRATV.
      Distributors
84.   Nader Tavangar    AMc Executive      Brian Mason                 NRATV viewership analytics,
                                           300 Crescent Ct. Ste. 400   the presentations regarding
                                           Dallas, TX 75201            NRATV analytics that were
                                           (214) 981-9929              presented to the NRA, and
                                                                       AMc’s budget for NRATV.
85.   Nancy Martin      Former AMc         Address Unknown             NRATV viewership analytics,
                        Executive                                      the presentations regarding
                        Producer                                       NRATV analytics that were
                                                                       presented to the NRA, and

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                                                                       AMc’s budget for NRATV.
86.   Natalie Foster    NRATV host         723 Sweet Gum Acres         NRATV viewership analytics,
                                           Road,                       the presentations regarding
                                           El Dorado, AR 71730         NRATV analytics that were
                                                                       presented to the NRA, and
                                                                       AMc’s budget for NRATV.
87.   Nick Perrine      NRA, Special       1717 Main Street            NRA’s requests for AMc books
                        Assistant to the   Dallas, TX 75201            and records; NRA’s concerns
                        President          (214) 653-4000              regarding spending of NRA
                                                                       funds.
88.   Noe Landini       Owner of           726 Timber Branch Dr,       NRA’s payment of AMc’s
                        Landini Brothers   Alexandria, VA 22302        pass-through expenses.
                        Restaurants and
                        CXIII REX
89.   Corporate         NRATV Sponsor 107 SW Columbia                  NRATV viewership analytics,
      Representative,                 Bend, OR 97702                   and AMc’s budget for
      Nosler Inc.                                                      NRATV.
90.   Oliver North      NRA Director       1717 Main Street            Extortion attempt against
                        and Former         Dallas, TX 75201            Wayne LaPierre.
                        President          (214) 653-4000
91.   Corporate         Former AMc         1833 S Morgan Road          AMc’s business practices,
      Representative,   Client             Oklahoma City, OK           billing, and reputation in the
      Omni Air                             73128                       industry.
      Transport
92.   Corporate         Former AMc         30 Trinity Street           AMc’s business practices,
      Representative,   Client             Hartford, CT 01606-         billing, and reputation in the
      Performance                          0470                        industry.
      Improvement
      Partners
93.   Portia Padilla    NRA Accounts    1717 Main Street               NRA’s concerns regarding
                        Payable Manager Dallas, TX 75201               spending of NRA funds.
                                        (214) 653-4000
94.   Rachel Bonilla    Former AMc         Address Unknown             NRATV viewership analytics,
                        Producer                                       the presentations regarding
                                                                       NRATV analytics that were
                                                                       presented to the NRA, and
                                                                       AMc’s budget for NRATV.
95.   Revan             AMc CEO            Brian Mason                 NRATV viewership analytics,
      McQueen                              300 Crescent Ct. Ste. 400   the presentations regarding
                                           Dallas, TX 75201            NRATV analytics that were
                                           (214) 981-9929              presented to the NRA, and

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                                                                       AMc’s budget for NRATV.
96.   Rick Tedrick      NRA Employee       1717 Main Street            NRA’s concerns regarding
                                           Dallas, TX 75201            AMc spending of NRA funds.
                                           (214) 653-4000

97.   Rodney            AMc Senior         Brian Mason                 NRATV viewership analytics,
      Autaubo           Producer           300 Crescent Ct. Ste. 400   the presentations regarding
                                           Dallas, TX 75201            NRATV analytics that were
                                           (214) 981-9929              presented to the NRA, and
                                                                       AMc’s budget for NRATV.
98.   Rodney Lipe       AMc Director of    Brian Mason                 NRATV viewership analytics,
                        Client services    300 Crescent Ct. Ste. 400   the presentations regarding
                                           Dallas, TX 75201            NRATV analytics that were
                                           (214) 981-9929              presented to the NRA, and
                                                                       AMc’s budget for NRATV.
99.   Corporate         Former AMc         900 Elm Street,             AMc’s business practices,
      Representative,   Client             Manchester, NH 03101        billing, and reputation in the
      RSUI                                                             industry.
      Indemnity, Inc.
100. Corporate          NRATV Sponsor 2100 Roosevelt Ave               NRATV viewership analytics,
     Representative,                  Springfield, MA 01104            and AMc’s budget for
     Smith &                                                           NRATV.
     Wesson
101. Sonya Rowling      NRA Director of    1717 Main Street            NRA’s concerns regarding
                        Accounting and     Dallas, TX 75201            AMc spending of NRA funds.
                        Operations and     (214) 653-4000
                        Financial
                        Reporting
102. Stephanie West     Former AMc         Address unknown             NRATV viewership analytics,
                        Assistant to the                               the presentations regarding
                        President                                      NRATV analytics that were
                                                                       presented to the NRA, and
                                                                       AMc’s budget for NRATV.
103. Stephen Walters Former AMc            Address unknown             NRATV viewership analytics,
                     Director of                                       the presentations regarding
                     Photography /                                     NRATV analytics that were
                     Colorist                                          presented to the NRA, and
                                                                       AMc’s budget for NRATV.
104. Steve Hart         Former NRA         1200 New Hampshire          NRA’s requests for AMc books
                        Counsel            Ave. NW, Suite 800          and records.
                                           Washington, DC 20036
                                           (202) 517-0585


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105. Tammy Payne        AMc Senior        1513 Two Bridge Drive,      NRATV viewership analytics,
                        Vice President / Oklahoma City, OK            the presentations regarding
                        Creative Director 73131                       NRATV analytics that were
                                                                      presented to the NRA, and
                                                                      AMc’s budget for NRATV.
106. Corporate          Oliver North       1875 Connecticut Ave,      NRA’s conspiracy claims.
     Representative,    consultant         Washington, DC 20009
     The Rendon
     Group
107. Tim Herr           Former AMc         Address Unknown            NRATV viewership analytics,
                        Copywriter /                                  the presentations regarding
                        Editor                                        NRATV analytics that were
                                                                      presented to the NRA, and
                                                                      AMc’s budget for NRATV.
108. Travis Lee         AMc Senior         815 Fairlawn St.           NRATV viewership analytics,
     Almand             Interactive        Allen, TX 75002            the presentations regarding
                        Developer                                     NRATV analytics that were
                                                                      presented to the NRA, and
                                                                      AMc’s budget for NRATV.
109. Tyler Schropp      NRA Executive      1717 Main Street           NRA’s concerns regarding
                        Director for the   Dallas, TX 75201           AMc spending of NRA funds.
                        Office of          (214) 653-4000
                        Advancement,
                        and former AMc
                        employee
110. Corporate          NRATV Sponsor 7629 State 5 and 20             NRATV viewership analytics,
     Representative,                  Bloomfield, NY 14469            and AMc’s budget for
     Velocity                                                         NRATV.
     Outdoor
111. Wayne LaPierre NRA Executive          1717 Main Street           NRA’s requests for AMc books
                    Vice President         Dallas, TX 75201           and records, and North’s
                    and CEO                (214) 653-4000             extortion attempt against him.
112. Wilson Phillips    Former NRA         4602 Gilbert Avenue        NRA’s payment of AMc’s
                        CFO and            Dallas, TX 75219           pass-through expenses.
                        Treasurer          (703) 626-6757



        In addition, Plaintiff anticipates that other, unknown individuals may have discoverable

 information that Plaintiff may use to support its claims or defenses. Plaintiff incorporates by




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 reference any other individuals disclosed by other parties in this matter and reserves the right to

 supplement this disclosure pursuant to Federal Rule of Civil Procedure 26(e).

         Plaintiff also reserves the right to obtain discovery in support of its claims or defenses

 from any witness identified in any other party’s Rule 26(a)(1) disclosure.

                                                     II.

                      DISCLOSURE PURSUANT TO RULE 26(a)(1)(A)(ii)

         Plaintiff submits the following description of documents, electronically stored

 information or tangible things in its personal possession, custody or control that Plaintiff may use

 to support its claims or defenses, by category:

             a. Documents relating to services provided under the parties’ Services Agreement;

             b. Communications between Plaintiff and Defendants regarding services provided
                under the Services Agreement;

             c. Communications and documents regarding NRATV;

             d. Communications and documents regarding AMc’s pass-through expenses to the
                NRA;

             e. Documents regarding AMc employee time spent on NRA projects.

                                                     III.

                         DISCLOSURE PURSUANT TO RULE 26(a)(1)(A)(iii)

         The NRA is seeking compensatory damages for injuries sustained as a result of

 Defendants’ wrongful conduct, in at least the amount of $40 million; punitive or exemplary

 damages in an amount to be determined at trial; forfeiture and disgorgement in at least the

 amount of $100 million; attorneys’ fees, costs, and expenses, in an amount to be determined by

 the Court; pre-judgment and post-judgment interest at the highest lawful rate; and such other

 relief at law or in equity, to which it may be justly entitled.



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        Plaintiff will provide Defendants with an expert damages report as to all the claims in

 Plaintiff’s Amended Complaint, in accordance with the scheduling order entered in this case.1

                                                     IV.

                     DISCLOSURE PURSUANT TO RULE 26(a)(1)(A)(iv)

        The NRA will make available for inspection by Defendants any and all insurance

 agreements that may indemnify or reimburse Plaintiff for any payments made to satisfy any

 judgment in this action, on conditions that any such agreements shall be treated as “Confidential”

 under the Protective Order entered in this case.



 Dated: October 15, 2020                                   Respectfully submitted,

                                                           BREWER, ATTORNEYS &
                                                           COUNSELORS

                                                           By: /s/ Alessandra P. Allegretto
                                                           Alessandra P. Allegretto
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                                                           Michael J. Collins
                                                           State Bar No. 00785493
                                                           mjc@brewerattorneys.com
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                                                           Telephone: (214) 653-4000
                                                           Facsimile: (214) 653-1015

                                                           ATTORNEYS FOR PLAINTIFF THE
                                                           NATIONAL RIFLE ASSOCIATION OF
                                                           AMERICA AND THIRD-PARTY
                                                           DEFENDANT WAYNE LAPIERRE




        1
            ECF No. 174.


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                                CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was served upon

 counsel of record in accordance with the Federal Rules of Civil Procedure.


                                                /s/ Alessandra P. Allegretto
                                                Alessandra P. Allegretto




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